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 6                                 UNITED STATES DISTRICT COURT
 7                                          DISTRICT OF NEVADA
 8                                                     ***
 9    UNITED STATES OF AMERICA,                    )
                                                   )
10                   Plaintiff,                    )         2:09-cr-510-PMP-RJJ
                                                   )
11    vs.                                          )
                                                   )
12    ALLA LAOUGINE, VENIAMIN                      )             ORDER
      LAOUGINE and YASSER ESKANDER,                )
13                                                 )
                     Defendant,                    )
14                                                 )
15           This matter is before the Court on the Stipulation (#69) to continue the evidentiary
16    hearing scheduled for September 27, 2010, on Defendant Veniamin Laougine’s Motion to
17    Suppress Statement (#36).
18           The Court having reviewed the Stipulation (#69) finds that a negotiated resolution has
19    been reached as to all defendants. Good cause appearing therefore,
20           IT IS HEREBY ORDERED that Stipulation (#69) to continue the evidentiary hearing
21    scheduled for September 27, 2010, is GRANTED IN PART AND DENIED IN PART.
22           IT IS FURTHER ORDERED that the Stipulation (#69) is GRANTED in that the
23    evidentiary hearing scheduled for September 27, 2010, is VACATED.
24           IT IS FURTHER ORDERED that Defendant Veniamin Laougine’s Motion to
25    Suppress Statement (#36) is DENIED AS MOOT based on counsel’s representation that a
26    negotiated resolution has been reached as to all defendants. Consequently there is no need to
27    reschedule the evidentiary hearing.
28           IT IS FURTHER ORDERED that the Stipulation (#69) to continue the evidentiary
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 1    hearing scheduled for September 27, 2010, on Defendant Veniamin Laougine’s Motion to
 2    Suppress Statement (#36) is DENIED AS TO ALL OTHER REQUESTS.
 3           DATED this 22d day of September, 2010.
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                                                ROBERT J. JOHNSTON
 7                                              United States Magistrate Judge
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